                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION


   LIFEWISE, INC.,
                                                           Case No.: 1:24-cv-00268-HAB-SLC
                   Plaintiff,
                                                           Chief Judge Holly A. Brady
           v.
                                                           Magistrate Judge Susan L. Collins
   ZACHARY PARRISH

                   Defendant.


                                REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7-5(a), Defendant Zachary Parrish respectfully requests oral

argument on his Motion to Dismiss for Failure to State a Claim (ECF No. 12). Mr. Parrish

believes oral argument may assist the Court. The pending motion arises in an unusual procedural

posture because Plaintiff LifeWise, Inc. has opposed Mr. Parrish’s Motion and simultaneously

moved for summary judgment, raising substantially the same facts and arguments in both

motions. Moreover, this case and Mr. Parrish’s Motion concern an issue of great public

importance: the ability of parents to understand and discuss a controversial religious education

program that their children may be encouraged to join. Finally, because the facts of this case are

not disputed, oral argument may promote judicial efficiency by allowing the Court to raise any

legal questions not addressed in the briefing.



Dated: September 23, 2024                        Respectfully submitted,


                                                 /s/ Corynne McSherry
                                                 Corynne McSherry (admitted pro hac vice)

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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 23rd day of September, 2024, I caused the foregoing to be
filed electronically with the Clerk of Court using the CM/ECF system, which shall provide
notification by email of such filing to all counsel of record.



                                             ______/s/ Corynne McSherry__________________
                                                   Corynne McSherry




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